              IN THE DISTRICT COURT OF THE UNITED STATES
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION

                           CRIMINAL NO. 3:01CR11-2


UNITED STATES OF AMERICA               )
                                       )
                                       )
              VS.                      )           ORDER
                                       )
                                       )
TERRY W. STEWART                       )
                                        )


        THIS MATTER is before the Court on the Defendant’s motion for a new

trial pursuant to Rule 33 of the Federal Rules of Criminal Procedure.

        The motion is based on newly discovered evidence but contains

argument as to a litany of other grounds. Rule 33(b) provides in pertinent

part:

        (1) Any motion for a new trial grounded on newly discovered
        evidence must be filed within 3 years after the verdict[.] If an
        appeal is pending, the court may not grant a motion for a new
        trial until the appellate court remands the case.

        (2) Any motion for a new trial grounded on any reason other than
        newly discovered evidence must be filed with 7 days after the
        verdict[.]

Fed. R. Crim. P. 33(b).




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      On November 9, 2001, a jury found the Defendant guilty of multiple

counts of the bill of indictment. Thus, any motion based on newly discovered

evidence must have been brought no later than November 9, 2004. This

motion, based on that ground, is untimely.

      On August 31, 2005, the undersigned acted on the mandate of the

Fourth Circuit Court of Appeals and resentenced the Defendant to 2,100

months imprisonment. Amended Judgment in a Criminal Case, filed

September 7, 2005. The Defendant immediately filed an appeal. As a

result, even if the motion were timely, the Court could not issue a ruling.

      As to the miscellaneous arguments raised in the Defendant’s motion,

they are untimely. To the extent the Defendant bases his motion on Rule

33(a), although at no point in the motion does he so claim, the Court would

not entertain a motion based on the interests of justice.

      Finally, the Defendant has been a prolific filer in this Court. Almost all

of his filings have been frivolous. He is hereby placed on notice that the Court

will not allow such conduct to continue.    Prisoners do not have an absolute

and unconditional right of access to the courts in order to prosecute frivolous,

malicious, abusive or vexatious motions. Demos v. Keating, 33 Fed. Appx.




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918 (10th Cir. 2002); Tinker v. Hanks, 255 F.3d 444, 445 (7th Cir. 2001);

In re Vincent, 105 F.3d 943 (4th Cir. 1997). The Defendant is hereby

warned that future frivolous filings will result in the imposition of a pre-filing

review system. Vestal v. Clinton, 106 F.3d 553 (4th Cir. 1997). If such a

system is placed in effect, pleadings presented to the Court which are not

made in good faith and which do not contain substance, will be summarily

dismissed as frivolous. Foley v. Fix, 106 F.3d 556 (4th Cir. 1997); In re

Head, 19 F.3d 1429 (table), 1994 WL 118464 (4th Cir. 1994). Thereafter,

if such writings persist, the pre-filing system may be modified to include an

injunction from filings. See, 28 U.S.C. § 1651(a); In re Martin-Trigona, 737

F.2d 1254 (2d Cir. 1984).

      IT IS, THEREFORE, ORDERED that the Defendant’s motion for a new

trial is hereby DENIED.




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                  Signed: November 5, 2005




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